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                        IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      DUBLIN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
       v.                                      ) CR 315-002
                                               )
JAMES RASHUN McCORMICK                         )
                                           _________

                                           ORDER
                                           _________

       Pursuant to Federal Rule of Criminal Procedure 12(b)(4), Defendant seeks an order

requiring the government to provide notice of its intent to use, during its evidence-in-chief at

trial, evidence that Defendant is entitled to discover under Federal Rule of Criminal Procedure

16. In light of the government’s customary policy within this District of providing liberal

discovery of its investigative file to defense counsel, Defendant should have already received all

evidence in the government’s possession that he is entitled to discover under Rule 16, and the

instant motion for notice is thus MOOT (doc. no. 23).

       SO ORDERED this 23rd day of March, 2015, at Augusta, Georgia.
